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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                               Eastern Division

National Collegiate Athletic Association Student−Athlete
Concussion Injury Litigation, et al.
                                                            Plaintiff,
v.                                                                        Case No.:
                                                                          1:13−cv−09116
                                                                          Honorable John
                                                                          Z. Lee
National Collegiate Athletic Association
                                                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, July 8, 2015:


        MINUTE entry before the Honorable John Z. Lee: The Court sets a status hearing
on Friday, July 24, 2015 at 2:00 p.m. for the purpose of setting a schedule for additional
briefing with regard to Plaintiff Nichols' argument that a personal injury class can be
certified in this action under Fed. R. Civ. P. 23(b)(3). Out−of−town counsel are granted
leave to appear telephonically and should provide Judge Lee's Courtroom Deputy Carmen
Acevedo with a call−in number the day prior to the status hearing. Should the parties
come to an agreement with respect to a briefing schedule (and page limits) prior to the
status hearing−−which the Court strongly encourages−−the parties should file a joint
motion for entry of the stipulated schedule and page limits to be heard at the same time
and date as the status hearing. If the Court approves of the stipulation, it will enter an
order and strike the July 24 status hearing.Mailed notice(ca, )




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